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                                  TEM Bulk Talc Structure Count Sheet
 Project/                                                             No. of Grids
                      M69757-005               Grid Box #    8644                             2
Sample No.                                                             Counted
 Analyst:            Jayme Callan                           Length       Width             G.O. Area
  Date of
                12/15/2018 - 12/16/2018                       105          105               105
 Analysis                                       G. O. in
   Initial                                     microns =
                        0.04041                               105          105               105
 Weight(g)
 Analysis                                         Grid
              Post Separation Talc Analysis                   Yes      Average              11025
   Type                                        Acceptance
             Accelerating                                               G.O.s
Scope No.                         100 KV       Loading%      15%                             100
               Voltage                                                 Counted
               Screen
    3                              20 KX               Area Examined mm²                    1.103
             Magnification



  Str. #     Grid Opening     Str./Asb. Type    Length       Width         Ratio       SAED           EDS
 Talc #1         D8-A4         Fibrous Talc       9.6        0.74          13.0      Fibrous talc observed
                                                                                       Trace through out
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                           Section 4
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                                                   MAS, LLC
                                                 PLM ANALYSIS


Proj#-Spl#                M69757 - 007ISO         Analyst Paul Hess               Date 12/13/2018
ClientName Beasley, Allen, Crow, Methvin, Portis & Miles              ClientSpl 20180358-01A
Location
Type_Mat         Talc

Gross       Off-white powder                                                        % of Sample     100
Visual


                                     OPTICAL DATA FOR ASBESTOS IDENTIFICATION

   Morphology           straight
   Pleochroism          none
  Refract Index         1.629/1.615
          Sign^         positive
     Extinction         oblique
  Birefringence         moderate
           Melt         no
    Fiber Name          Actinolite/Tremolite

 ASBESTOS MINERALS                                       EST. VOL. %


 Chrysotile.............................
 Amosite................................
 Crocidolite............................
 Tremolite/Actinolite..............                          < 0.1
 Anthophyllite........................
 OTHER FIBROUS COMPONENTS
 Talc -B/Y DS in 1.55                                       ***




 NON FIBROUS COMPONENTS


 Opaques                                                     X
 Talc                                                        X
 Mineral grains                                              X




  Binder Description



            Comments Actinolite/Tremolite asbestos observed. Moderate amount of fibrous Talc observed.
                     X=Materials Detected.

                                                       The method detection limit is 1% unless otherwise stated.
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                                                   MAS, LLC
                                                 PLM ANALYSIS


Proj#-Spl#                M69757 - 007BL          Analyst Paul Hess               Date 12/14/2018
ClientName Beasley, Allen, Crow, Methvin, Portis & Miles              ClientSpl 20180358-01A
Location
Type_Mat         Talc

Gross       White debris on slide                                                   % of Sample     100
Visual


                                     OPTICAL DATA FOR ASBESTOS IDENTIFICATION

   Morphology           straight                   straight
   Pleochroism          none                       none
  Refract Index         1.629/1.616                1.625/1.612
          Sign^         positive                   positive
     Extinction         oblique                    parallel
  Birefringence         medium                     medium
           Melt         no                         no
    Fiber Name          Actinolite/Tremolite       Anthophyllite

 ASBESTOS MINERALS                                       EST. VOL. %


 Chrysotile.............................
 Amosite................................
 Crocidolite............................
 Tremolite/Actinolite..............                          < 0.1
 Anthophyllite........................                       < 0.1
 OTHER FIBROUS COMPONENTS




 NON FIBROUS COMPONENTS


 Opaques                                                     X
 Talc                                                        X
 Mineral grains                                              X




  Binder Description



            Comments Actinolite/Tremolite and Anthophyllite asbestos observed. *** Trace amount of fibrous
                     Talc observed. X = Materials detected.

                                                       The method detection limit is 1% unless otherwise stated.
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                                                   MAS, LLC
                                                 PLM ANALYSIS


  Proj#-Spl#              M69751 0391S0
                                 -               Analyst Paul Hess                 Date   12/13/2018
  ClientName Beasley, Allen, Crow, Methvin, Portis & Miles           ClientSpl 201 80320-CiA
  Location
  Type_Mat       Talc

   Gross      Off-white powder                                                       %of Sample      100
   Visual


                                 OPTICAL DATA FOR ASBESTOS IDENTIFICATION

     Morphology
    Pleochroism
    Refract Index
              Sign”
          Extinction
    Birefringence
             Melt
      Fiber Name

   ASBESTOS MINERALS                                      EST. VOL. %
                                                   NO ASBESTOS OBSERVED

   Chrysotile
   Amosite
   Crocidolite
   Tremolite/Actinolite
   Anthophyllite
   OTHER FIBROUS COMPONENTS
   Talc -B/Y DS in 1.55




   NON FIBROUS COMPONENTS


   Opaques                                                   x
   Talc                                                      x
   Mineral grains                                            x


    Binder Description



             Comments        Moderate amount fibrous Talc observed. X = Materials detected.



                                                       The method detection limit is 1% unless otherwise stated.
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                                                  MAS, LLC
                                                PLM ANALYSIS


  Proj#-Spl#             M69751   -   039BL      Analyst Paul Hess                Date   12/14/2018
  ClientName Beasley, Allen, Crow, Methvin, Portis & Miles           ClientSpl 201 80320-01A
  Location
  Type_Mat      Talc

   Gross     White debis on slide                                                   %of Sample      100
   Visual


                                    OPTICAL DATA FOR ASBESTOS IDENTIFICATION

     Morphology
    Pleochroism
    Refract Index
            Sign”
       Extinction
    Birefringence
             Melt
      Fiber Name

   ASBESTOS MINERALS                                    EST. VOL. %
                                                  NO ASBESTOS OBSERVED

   Chrysotile
   Amosite
   Crocidolite
   Tremolite/Actinolite
   Anthophyllite
   OTHER FIBROUS COMPONENTS




   NON FIBROUS COMPONENTS


   Opaques                                                   x
   Talc                                                      x
   Mineral grains                                            x


    Binder Description



             Comments X = Materials detected.


                                                      The method detection limit is 1% unless otherwise stated.
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                                                 TEM Bulk Talc Structure Count Sheet
     Project/                                                                            No. of Grids
                         M69751-039                        Grid Box #            8644                          2
    Sample No.                                                                            Counted
     Analyst:            Jose Carrillo                                          Length      Width         G. O. Area
      Date of
                     12/14/2018-12/15/18                                         105         105           11025
     Analysis
                                                        G. O. in microns =
       Initial
                           0.04150                                               105         105           11025
     Weight(g)
     Analysis
                 Post Separation Talc Analysis           Grid Acceptance         Yes      Average          11025
       Type
                 Accelerating                                                              G.O.s
    Scope No.                         100 KV                Loading%             20%                           100
                   Voltage                                                                Counted
                   Screen
        1                                20 KX                      Area Examined mm²                       1.103
                 Magnification

                                                      Asbestos
      Str. #     Grid Opening        Structure          Type         Length     Width       Ratio       SAED           EDS
      NSD            A7-I1
      NSD              I2
      NSD              I3
      NSD              I4
      NSD              I5
      NSD              I6
      NSD              I7
      NSD              I8
      NSD              I9
      NSD             I10
      NSD             H1
      NSD             H2
      NSD             H3
      NSD             H4
      NSD             H5
      NSD             H6
      NSD             H7
      NSD             H8
      NSD             H9
      NSD             H10
      NSD             G1
      NSD             G2
      NSD             G3
      NSD             G4
      NSD             G5
      NSD             G6
      NSD             G7
      NSD             G8
      NSD             G9
      NSD             G10
      NSD             E1
      NSD             E2
      NSD             E3
      NSD             E4
      NSD             E5
      NSD             E6
      NSD             E7
      NSD             E8
      NSD             E9
      NSD             E10
      NSD             D1
      NSD             D2
      NSD             D3
      NSD             D4
      NSD             D5
      NSD             D6
      NSD             D7
      NSD             D8
      NSD             D9
      NSD             D10
MAS, LLC. Suwanee, GA 30024                                                                                                  1 of 3
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                                                 TEM Bulk Talc Structure Count Sheet
     Project/                                                                            No. of Grids
                         M69751-039                        Grid Box #            8644                          2
    Sample No.                                                                            Counted
     Analyst:            Jose Carrillo                                          Length      Width         G. O. Area
      Date of
                     12/14/2018-12/15/18                                         105         105           11025
     Analysis
                                                        G. O. in microns =
       Initial
                           0.04150                                               105         105           11025
     Weight(g)
     Analysis
                 Post Separation Talc Analysis           Grid Acceptance         Yes      Average          11025
       Type
                 Accelerating                                                              G.O.s
    Scope No.                         100 KV                Loading%             20%                           100
                   Voltage                                                                Counted
                   Screen
        1                                20 KX                      Area Examined mm²                       1.103
                 Magnification

                                                      Asbestos
      Str. #     Grid Opening        Structure          Type         Length     Width       Ratio       SAED           EDS
      NSD            B7-J1
      NSD              J2
      NSD              J3
      NSD              J4
      NSD              J5
      NSD              J6
      NSD              J7
      NSD              J8
      NSD              J9
      NSD             J10
      NSD              I1
      NSD              I2
      NSD              I3
      NSD              I4
      NSD              I5
      NSD              I6
      NSD              I7
      NSD              I8
      NSD              I9
      NSD             I10
      NSD             G1
      NSD             G2
      NSD             G3
      NSD             G4
      NSD             G5
      NSD             G6
      NSD             G7
      NSD             G8
      NSD             G9
      NSD             G10
      NSD             F1
      NSD             F2
      NSD             F3
      NSD             F4
      NSD             F5
      NSD             F6
      NSD             F7
      NSD             F8
      NSD             F9
      NSD             F10
      NSD             D1
      NSD             D2
      NSD             D3
      NSD             D4
      NSD             D5
      NSD             D6
      NSD             D7
      NSD             D8
      NSD             D9
      NSD             D10
MAS, LLC. Suwanee, GA 30024                                                                                                  2 of 3
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                                                     TEM Bulk Talc Structure Count Sheet
     Project/                                                                                   No. of Grids
                             M69751-039                        Grid Box #            8644                                   2
    Sample No.                                                                                   Counted
     Analyst:                Jose Carrillo                                          Length         Width                G. O. Area
      Date of
                       12/14/2018-12/15/18                                           105            105                  11025
     Analysis
                                                            G. O. in microns =
       Initial
                               0.04150                                               105            105                  11025
     Weight(g)
     Analysis
                   Post Separation Talc Analysis             Grid Acceptance         Yes         Average                 11025
       Type
                   Accelerating                                                                   G.O.s
    Scope No.                               100 KV              Loading%             20%                                   100
                     Voltage                                                                     Counted
                     Screen
        1                                    20 KX                      Area Examined mm²                                 1.103
                   Magnification

                                                          Asbestos
      Str. #       Grid Opening          Structure          Type         Length     Width          Ratio            SAED             EDS

                    Sample Wt.
   Org. Sample       Post HL
        Wt.         Separation
     0.04150         0.04150         g
   Percent of
   Orig. Post
   Separation           100          (%)

       Wt. Of
      Sample
     Analyzed       0.00022752       g
     Filter size       201.1         mm²
    Number of
    Structures                                                                     Detection
     Counted             0           Str.                                            Limit       4.40E+03      Str./g
    Structures
   per Gram of                                                                    Analytical
      Sample          <4395          Str./g                                       Sensitivity    4.40E+03      Str./g




MAS, LLC. Suwanee, GA 30024                                                                                                                3 of 3
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                                     TEM Bulk Talc Structure Count Sheet
    Project/                                                             No. of Grids
                         M69751-039               Grid Box #    8644                             2
   Sample No.                                                             Counted
    Analyst:             Jose Carrillo                         Length       Width             G.O. Area
     Date of
                     12/14/2018-12/15/18                         105          105               105
    Analysis                                       G. O. in
      Initial                                     microns =
                           0.04150                               105          105               105
    Weight(g)
    Analysis                                         Grid
                 Post Separation Talc Analysis                   Yes      Average              11025
      Type                                        Acceptance
                Accelerating                                               G.O.s
    Scope No.                        100 KV       Loading%      20%                             100
                  Voltage                                                 Counted
                  Screen
        1                             20 KX               Area Examined mm²                    1.103
                Magnification



      Str. #    Grid Opening     Str./Asb. Type    Length       Width         Ratio       SAED           EDS
     Talc #1       B7-G10         Fibrous Talc      17.2         3.2           5.4      Fibrous talc observed
                                                                                          Trace throughout




MAS, LLC. Suwanee, GA 30024                                                                                     1 of 1
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                                                    MAS, LLC
                                                  PLM ANALYSIS


  Proj#-SpI#              M69751 0401S0
                                 -                Analyst Paul Hess                 Date   12/14/2018
  ClientName Beasley, Allen, Crow, Methvin, Portis & Miles            CIientSpI2Ol8O32O-13A
  Location
  Type_Mat      Talc

   Gross     Off-white powder                                                         % of Sample     100
   Visual


                          F      OPTICAL DATA FOR ASBESTOS IDENTIFICATION

      Morphology
     Pleochroism
    Refract Index
            Sign”
       Extinction
    Birefringence
             Melt
      Fiber Name

   ASBESTOS MINERALS                                      EST. VOL. ¾
                                                    NO ASBESTOS OBSERVED

   Chrysotile
   Amosite
   Crocidolite
   Tremolite/Actinolite
   Anthophyllite
   OTHER FIBROUS COMPONENTS
   Talc -B/Y DS in 1.55




   NON FIBROUS COMPONENTS


   Opaques                                                    x
   Talc                                                       x
   Mineral grains                                             x


    Binder Description



             Comments         Moderate amount fibrous Talc observed. X = Materials detected.



                                                        The method detection limit is 1% unless otherwise stated.
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                                                   MAS, LLC
                                                 PLM ANALYSIS


  Proj#-SpI#              M69751 040BL
                                   -             Analyst Paul Hess                 Date   12/15/2018
  ClientName Beasley, Allen, Crow, Methvin, Portis & Miles           ClientSpI2Ol8O32O-13A
  Location
  Type_Mat       Talc

   Gross      White debris on slide                                                  % of Sample     100
   Visual


                                   OPTICAL DATA FOR ASBESTOS IDENTIFICATION
                                                                                            I
     Morphology         straight
    Pleochroism         none
    Refract Index       1.633/1.616
              Sign”     positive
          Extinction    oblique
    Birefringence       medium
             Melt       no
      Fiber Name        Actinolite/Tremolite

   ASBESTOS MINERALS                                      EST. VOL. %


   Chrysotile
   Amosite
   Crocidolite
   Tremolite/Actinolite                                       <0.1
   Anthophyllite
   OTHER FIBROUS COMPONENTS




   NON FIBROUS COMPONENTS


   Opaques                                                   x
   Talc                                                      x
   Mineral grains                                            x


   Binder Description



              Comments Actinolite/Tremolite cleavage fragmentsparticles observed. X = Materials detected.


                                                       The method detection limit is 1% unless otherwise stated.
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                                                TEM Bulk Talc Structure Count Sheet
     Project/                                                                            No. of Grids
                         M69751-040                         Grid Box #           8645                          2
    Sample No.                                                                            Counted
     Analyst:           Jayme Callan                                            Length      Width         G. O. Area
      Date of
                          12/17/2018                                             105         105             11025
     Analysis
                                                        G. O. in microns =
       Initial
                           0.04056                                               105         105             11025
     Weight(g)
     Analysis
                 Post Separation Talc Analysis           Grid Acceptance         Yes      Average            11025
       Type
                 Accelerating                                                              G.O.s
    Scope No.                          100 KV               Loading%             18%                           100
                   Voltage                                                                Counted
                   Screen
        3                              20 KX                        Area Examined mm²                        1.103
                 Magnification

                                                     Asbestos
      Str. #     Grid Opening        Structure         Type          Length     Width       Ratio       SAED           EDS
      NSD            A5-A1
      NSD             A2
      NSD             A3
      NSD             A4
      NSD             A5
      NSD             A6
      NSD             A7
      NSD             A8
      NSD             A9
      NSD             A10
      NSD             B1
      NSD             B2
      NSD             B3
        1             B4               Bundle       Anthophyllite        7.4     0.62       11.9         X              X
        2             B5               Bundle       Anthophyllite        14.9    0.74       20.1         X              X
      NSD             B6
      NSD             B7
      NSD             B8
      NSD             B9
      NSD             B10
      NSD             C1
      NSD             C2
      NSD             C3
      NSD             C4
      NSD             C5
      NSD             C7
      NSD             C8
      NSD             C9
      NSD             C10
      NSD             D1
      NSD             D2
      NSD             D3
      NSD             D4
      NSD             D5
      NSD             D6
      NSD             D7
      NSD             D9
      NSD             D10
      NSD             E1
      NSD             E2
      NSD             E3
      NSD             E4
      NSD             E5
      NSD             E6
      NSD             E7
      NSD             E8
      NSD             E9
      NSD             E10
      NSD             F1
      NSD             F2
MAS, LLC. Suwanee, GA 30024                                                                                                  1 of 3
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                                                TEM Bulk Talc Structure Count Sheet
     Project/                                                                            No. of Grids
                         M69751-040                         Grid Box #           8645                          2
    Sample No.                                                                            Counted
     Analyst:           Jayme Callan                                            Length      Width         G. O. Area
      Date of
                          12/17/2018                                             105         105             11025
     Analysis
                                                        G. O. in microns =
       Initial
                           0.04056                                               105         105             11025
     Weight(g)
     Analysis
                 Post Separation Talc Analysis           Grid Acceptance         Yes      Average            11025
       Type
                 Accelerating                                                              G.O.s
    Scope No.                          100 KV               Loading%             18%                           100
                   Voltage                                                                Counted
                   Screen
        3                              20 KX                        Area Examined mm²                        1.103
                 Magnification

                                                     Asbestos
      Str. #     Grid Opening        Structure         Type          Length     Width       Ratio       SAED           EDS
      NSD            A4-A3
      NSD             A4
      NSD             A5
      NSD             A6
      NSD             A7
      NSD             A8
      NSD             A9
      NSD             A10
      NSD             B5
      NSD             B6
      NSD             B7
      NSD             B8
      NSD             B9
        3             B10              Bundle       Anthophyllite        6.72    0.62       10.8         X              X
      NSD             C5
      NSD             C6
      NSD             C7
      NSD             C8
      NSD             C9
      NSD             C10
      NSD             D5
      NSD             D6
      NSD             D7
      NSD             D8
      NSD             D9
      NSD             D10
      NSD             E5
      NSD             E6
      NSD             E7
      NSD             E8
      NSD             E9
      NSD             E10
      NSD             F4
      NSD             F5
      NSD             F6
      NSD             F7
      NSD             F8
      NSD             F9
      NSD             F10
      NSD             G4
      NSD             G5
      NSD             G6
      NSD             G7
      NSD             G8
      NSD             G9
      NSD             G10
      NSD             H5
      NSD             H6
      NSD             H7
      NSD             H8
MAS, LLC. Suwanee, GA 30024                                                                                                  2 of 3
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                                                   TEM Bulk Talc Structure Count Sheet
     Project/                                                                                 No. of Grids
                             M69751-040                      Grid Box #            8645                                   2
    Sample No.                                                                                 Counted
     Analyst:                Jayme Callan                                         Length         Width                G. O. Area
      Date of
                              12/17/2018                                           105            105                  11025
     Analysis
                                                          G. O. in microns =
       Initial
                               0.04056                                             105            105                  11025
     Weight(g)
     Analysis
                   Post Separation Talc Analysis           Grid Acceptance         Yes         Average                 11025
       Type
                   Accelerating                                                                 G.O.s
    Scope No.                              100 KV             Loading%             18%                                   100
                     Voltage                                                                   Counted
                     Screen
        3                                  20 KX                      Area Examined mm²                                 1.103
                   Magnification

                                                        Asbestos
      Str. #       Grid Opening          Structure        Type         Length     Width          Ratio            SAED             EDS

                    Sample Wt.
   Org. Sample       Post HL
        Wt.         Separation
     0.04056         0.04056        g
   Percent of
   Orig. Post
   Separation           100         (%)

       Wt. Of
      Sample
     Analyzed       0.00022236      g
     Filter size       201.1        mm²
    Number of
    Structures                                                                   Detection
     Counted             3          Str.                                           Limit       4.50E+03      Str./g
    Structures
   per Gram of                                                                  Analytical
      Sample         1.35E+04       Str./g                                      Sensitivity    4.50E+03      Str./g




MAS, LLC. Suwanee, GA 30024                                                                                                              3 of 3
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                                     TEM Bulk Talc Structure Count Sheet
    Project/                                                             No. of Grids
                         M69751-040               Grid Box #    8645                             2
   Sample No.                                                             Counted
    Analyst:            Jayme Callan                           Length       Width             G.O. Area
     Date of
                          12/17/2018                             105          105               105
    Analysis                                       G. O. in
      Initial                                     microns =
                           0.04056                               105          105               105
    Weight(g)
    Analysis                                         Grid
                 Post Separation Talc Analysis                   Yes      Average              11025
      Type                                        Acceptance
                Accelerating                                               G.O.s
    Scope No.                        100 KV       Loading%      18%                             100
                  Voltage                                                 Counted
                  Screen
        3                              20 KX              Area Examined mm²                    1.103
                Magnification



      Str. #    Grid Opening     Str./Asb. Type    Length       Width         Ratio       SAED           EDS
     Talc #1        A4-F6         Fibrous Talc       4.2        0.82           5.1      Fibrous talc observed
                                                                                          Trace through out




MAS, LLC. Suwanee, GA 30024                                                                                     1 of 1
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                                                    MAS, LLC
                                                  PLM ANALYSIS


Proj#-Spl#                 M68503 - 016ISO         Analyst Paul Hess               Date 10/31/2018
ClientName Dept 14 Environmental                                       ClientSpl 2018-0060-33A
Location
Type_Mat         Johnson's Baby Powder

Gross       Off-white powder                                                         % of Sample 100
Visual


                                      OPTICAL DATA FOR ASBESTOS IDENTIFICATION

    Morphology
   Pleochroism
  Refract Index
          Sign^
     Extinction
  Birefringence
           Melt
    Fiber Name

 ASBESTOS MINERALS                                        EST. VOL. %
                                                     NO ASBESTOS OBSERVED

 Chrysotile..............................
 Amosite.................................
 Crocidolite............................
 Tremolite/Actinolite..............
 Anthophyllite........................
 OTHER FIBROUS COMPONENTS
 Talc -B/Y DS in 1.55                                        ***




 NON FIBROUS COMPONENTS


 Opaques                                                      X
 Talc                                                         X
 Mineral grains                                               X




  Binder Description



            Comments X = Materials detected. *** Trace amount fibrous Talc observed.


                                                        The method detection limit is 1% unless otherwise stated.
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                                                    MAS, LLC
                                                  PLM ANALYSIS


Proj#-Spl#                 M68503 - 016BL1         Analyst Paul Hess               Date 10/25/2018
ClientName Dept 14 Environmental                                       ClientSpl 2018-0060-33A
Location
Type_Mat         Johnson's Baby Powder (100mg prep)

Gross       White debris on slide                                                    % of Sample 100
Visual


                                      OPTICAL DATA FOR ASBESTOS IDENTIFICATION

    Morphology
   Pleochroism
  Refract Index
          Sign^
     Extinction
  Birefringence
           Melt
    Fiber Name

 ASBESTOS MINERALS                                        EST. VOL. %
                                                     NO ASBESTOS OBSERVED

 Chrysotile..............................
 Amosite.................................
 Crocidolite............................
 Tremolite/Actinolite..............
 Anthophyllite........................
 OTHER FIBROUS COMPONENTS
 Talc -B/Y DS in 1.55                                        ***




 NON FIBROUS COMPONENTS


 Opaques                                                      X
 Talc                                                         X
 Mineral grains                                               X
 Binder                                                       X



  Binder Description



            Comments X = Materials detected. *** Trace amount fibrous Talc observed.


                                                        The method detection limit is 1% unless otherwise stated.
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                                              TEM Bulk Talc Structure Count Sheet
     Project/                                                                         No. of Grids
                         M68503-016                     Grid Box #            8637                          2
    Sample No.                                                                         Counted
     Analyst:          Elyse Stempinski                                      Length      Width         G. O. Area
      Date of
                    10/29/2018 - 11/2/2018                                    105         105           11025
     Analysis
                                                     G. O. in microns =
       Initial
                           0.02030                                            105         105           11025
     Weight(g)
     Analysis
                 Post Separation Talc Analysis        Grid Acceptance         Yes      Average          11025
       Type
                 Accelerating                                                           G.O.s
    Scope No.                         100 KV             Loading%             20%                           100
                   Voltage                                                             Counted
                   Screen
        3                             20 KX                      Area Examined mm²                       1.103
                 Magnification

                                                   Asbestos
      Str. #     Grid Opening        Structure       Type         Length     Width       Ratio       SAED           EDS
      NSD            D2-A1
      NSD             A2
      NSD             A3
      NSD             A4
      NSD             A5
      NSD             A6
      NSD             A7
      NSD             A8
      NSD             A9
      NSD             B1
      NSD             B2
      NSD             B3
      NSD             B4
      NSD             B5
      NSD             B6
      NSD             B7
      NSD             B8
      NSD             B9
      NSD             B10
      NSD             C2
      NSD             C3
      NSD             C4
      NSD             C5
      NSD             C6
      NSD             C7
      NSD             C8
      NSD             C9
      NSD             C10
      NSD             D1
      NSD             D2
      NSD             D3
      NSD             D4
      NSD             D5
      NSD             D6
      NSD             D7
      NSD             D8
      NSD             D9
      NSD             D10
      NSD             E1
      NSD             E2
      NSD             E3
      NSD             E4
      NSD             E5
      NSD             E6
      NSD             E7
      NSD             E8
      NSD             E9
      NSD             F1
      NSD             F2
      NSD             F3
MAS, LLC. Suwanee, GA 30024                                                                                               1 of 3
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                                              TEM Bulk Talc Structure Count Sheet
     Project/                                                                         No. of Grids
                         M68503-016                     Grid Box #            8637                          2
    Sample No.                                                                         Counted
     Analyst:          Elyse Stempinski                                      Length      Width         G. O. Area
      Date of
                    10/29/2018 - 11/2/2018                                    105         105           11025
     Analysis
                                                     G. O. in microns =
       Initial
                           0.02030                                            105         105           11025
     Weight(g)
     Analysis
                 Post Separation Talc Analysis        Grid Acceptance         Yes      Average          11025
       Type
                 Accelerating                                                           G.O.s
    Scope No.                         100 KV             Loading%             20%                           100
                   Voltage                                                             Counted
                   Screen
        3                             20 KX                      Area Examined mm²                       1.103
                 Magnification

                                                   Asbestos
      Str. #     Grid Opening        Structure       Type         Length     Width       Ratio       SAED           EDS
      NSD            E2-A1
      NSD             A2
      NSD             A3
      NSD             A4
      NSD             A5
      NSD             A6
      NSD             A7
      NSD             A8
      NSD             A9
      NSD             B1
      NSD             B2
      NSD             B3
      NSD             B4
      NSD             B5
      NSD             B6
      NSD             B7
      NSD             B8
      NSD             B9
      NSD             B10
      NSD             C1
      NSD             C2
      NSD             C3
      NSD             C4
      NSD             C5
      NSD             C6
      NSD             C7
      NSD             C8
      NSD             C9
      NSD             C10
      NSD             D1
      NSD             D2
      NSD             D3
      NSD             D4
      NSD             D5
      NSD             D6
      NSD             D7
      NSD             D8
      NSD             D9
      NSD             D10
      NSD             E1
      NSD             E2
      NSD             E3
      NSD             E4
      NSD             E5
      NSD             E6
      NSD             E7
      NSD             E8
      NSD             E9
      NSD             E10
      NSD             F1
MAS, LLC. Suwanee, GA 30024                                                                                               2 of 3
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                                                  TEM Bulk Talc Structure Count Sheet
     Project/                                                                                No. of Grids
                             M68503-016                     Grid Box #            8637                                   2
    Sample No.                                                                                Counted
     Analyst:            Elyse Stempinski                                        Length         Width                G. O. Area
      Date of
                      10/29/2018 - 11/2/2018                                      105            105                  11025
     Analysis
                                                         G. O. in microns =
       Initial
                              0.02030                                             105            105                  11025
     Weight(g)
     Analysis
                   Post Separation Talc Analysis          Grid Acceptance         Yes         Average                 11025
       Type
                   Accelerating                                                                G.O.s
    Scope No.                             100 KV             Loading%             20%                                   100
                     Voltage                                                                  Counted
                     Screen
        3                                 20 KX                      Area Examined mm²                                 1.103
                   Magnification

                                                       Asbestos
      Str. #       Grid Opening         Structure        Type         Length     Width          Ratio            SAED             EDS

                    Sample Wt.
   Org. Sample       Post HL
        Wt.         Separation
     0.02030         0.02030       g
   Percent of
   Orig. Post
   Separation           100        (%)

       Wt. Of
      Sample
     Analyzed       0.00011129     g
     Filter size       201.1       mm²
    Number of
    Structures                                                                  Detection
     Counted             0         Str.                                           Limit       8.99E+03      Str./g
    Structures
   per Gram of                                                                 Analytical
      Sample          <8985        Str./g                                      Sensitivity    8.99E+03      Str./g




MAS, LLC. Suwanee, GA 30024                                                                                                             3 of 3
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                                     TEM Bulk Talc Structure Count Sheet
    Project/                                                             No. of Grids
                         M68503-016               Grid Box #    8637                              2
   Sample No.                                                             Counted
    Analyst:           Elyse Stempinski                        Length       Width              G.O. Area
     Date of
                    10/29/2018 - 11/2/2018                       105          105                105
    Analysis                                       G. O. in
      Initial                                     microns =
                           0.02030                               105          105                105
    Weight(g)
    Analysis                                         Grid
                 Post Separation Talc Analysis                   Yes      Average               11025
      Type                                        Acceptance
                Accelerating                                               G.O.s
    Scope No.                        100 KV       Loading%      20%                              100
                  Voltage                                                 Counted
                  Screen
        3                             20 KX               Area Examined mm²                     1.103
                Magnification



      Str. #    Grid Opening     Str./Asb. Type    Length       Width         Ratio          SAED         EDS
     Talc #1        D2-D1         Fibrous Talc       7.8        0.42               18.6 Fibrous Talc Observed
                                                                                        Trace Thoughout




MAS, LLC. Suwanee, GA 30024                                                                                     1 of 1
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                                                   MAS, LLC
                                                 PLM ANALYSIS


Proj#-Spl#                M69757 - 004ISO         Analyst Paul Hess               Date 12/13/2018
ClientName Beasley, Allen, Crow, Methvin, Portis & Miles              ClientSpl 20180339-05A
Location
Type_Mat         Talc

Gross       Off-white powder                                                        % of Sample     100
Visual


                                     OPTICAL DATA FOR ASBESTOS IDENTIFICATION

   Morphology
   Pleochroism
  Refract Index
          Sign^
     Extinction
  Birefringence
           Melt
    Fiber Name

 ASBESTOS MINERALS                                       EST. VOL. %
                                                    NO ASBESTOS OBSERVED

 Chrysotile.............................
 Amosite................................
 Crocidolite............................
 Tremolite/Actinolite..............
 Anthophyllite........................
 OTHER FIBROUS COMPONENTS
 Talc -B/Y DS in 1.55                                       ***




 NON FIBROUS COMPONENTS


 Opaques                                                     X
 Talc                                                        X
 Mineral grains                                              X




  Binder Description



            Comments *** Trace amount of fibrous Talc observed. X = Materials detected.


                                                       The method detection limit is 1% unless otherwise stated.
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                                                   MAS, LLC
                                                 PLM ANALYSIS


Proj#-Spl#                M69757 - 004BL          Analyst Paul Hess               Date 12/14/2018
ClientName Beasley, Allen, Crow, Methvin, Portis & Miles              ClientSpl 20180339-05A
Location
Type_Mat         Talc

Gross       White debris on slide                                                   % of Sample     100
Visual


                                     OPTICAL DATA FOR ASBESTOS IDENTIFICATION

   Morphology
   Pleochroism
  Refract Index
          Sign^
     Extinction
  Birefringence
           Melt
    Fiber Name

 ASBESTOS MINERALS                                       EST. VOL. %
                                                    NO ASBESTOS OBSERVED

 Chrysotile.............................
 Amosite................................
 Crocidolite............................
 Tremolite/Actinolite..............
 Anthophyllite........................
 OTHER FIBROUS COMPONENTS




 NON FIBROUS COMPONENTS


 Opaques                                                     X
 Talc                                                        X
 Mineral grains                                              X




  Binder Description



            Comments X = Materials detected.


                                                       The method detection limit is 1% unless otherwise stated.
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                                               TEM Bulk Talc Structure Count Sheet
     Project/                                                                          No. of Grids
                         M69757-004                      Grid Box #            8344                          2
    Sample No.                                                                          Counted
     Analyst:          Elyse Stempinski                                       Length      Width         G. O. Area
      Date of
                          12/14/2018                                           105         105           11025
     Analysis
                                                      G. O. in microns =
       Initial
                           0.04122                                             105         105           11025
     Weight(g)
     Analysis
                 Post Separation Talc Analysis         Grid Acceptance         Yes      Average          11025
       Type
                 Accelerating                                                            G.O.s
    Scope No.                          100 KV             Loading%             20%                           100
                   Voltage                                                              Counted
                   Screen
        2                              20 KX                      Area Examined mm²                       1.103
                 Magnification

                                                    Asbestos
      Str. #     Grid Opening        Structure        Type         Length     Width       Ratio       SAED           EDS
      NSD            C8-B1
      NSD             B2
      NSD             B3
      NSD             B4
      NSD             B5
      NSD             B6
      NSD             B7
      NSD             B8
      NSD             B9
      NSD             B10
      NSD             C1
      NSD             C2
      NSD             C3
      NSD             C4
      NSD             C5
      NSD             C6
      NSD             C7
      NSD             C8
      NSD             C9
      NSD             C10
      NSD             D1
      NSD             D2
      NSD             D3
      NSD             D4
      NSD             D5
      NSD             D6
      NSD             D7
      NSD             D8
      NSD             D9
      NSD             D10
      NSD             E1
      NSD             E2
      NSD             E3
      NSD             E4
      NSD             E5
      NSD             E6
      NSD             E7
      NSD             E8
      NSD             E9
      NSD             E10
      NSD             F1
      NSD             F2
      NSD             F3
      NSD             F4
      NSD             F5
      NSD             F6
      NSD             F7
      NSD             F8
      NSD             F9
      NSD             F10
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                                               TEM Bulk Talc Structure Count Sheet
     Project/                                                                          No. of Grids
                         M69757-004                      Grid Box #            8344                          2
    Sample No.                                                                          Counted
     Analyst:          Elyse Stempinski                                       Length      Width         G. O. Area
      Date of
                          12/14/2018                                           105         105           11025
     Analysis
                                                      G. O. in microns =
       Initial
                           0.04122                                             105         105           11025
     Weight(g)
     Analysis
                 Post Separation Talc Analysis         Grid Acceptance         Yes      Average          11025
       Type
                 Accelerating                                                            G.O.s
    Scope No.                          100 KV             Loading%             20%                           100
                   Voltage                                                              Counted
                   Screen
        2                              20 KX                      Area Examined mm²                       1.103
                 Magnification

                                                    Asbestos
      Str. #     Grid Opening        Structure        Type         Length     Width       Ratio       SAED           EDS
      NSD            C9-A1
      NSD             A2
      NSD             A3
      NSD             A4
      NSD             A5
      NSD             A6
      NSD             A7
      NSD             A8
      NSD             A9
      NSD             A10
      NSD             B1
      NSD             B2
      NSD             B3
      NSD             B4
      NSD             B5
      NSD             B6
      NSD             B7
      NSD             B8
      NSD             B9
      NSD             B10
      NSD             C2
      NSD             C3
      NSD             C4
      NSD             C5
      NSD             C6
      NSD             C7
      NSD             C8
      NSD             C9
      NSD             C10
      NSD             D2
      NSD             D3
      NSD             D4
      NSD             D5
      NSD             D6
      NSD             D7
      NSD             D8
      NSD             D9
      NSD             D10
      NSD             E1
      NSD             E2
      NSD             E3
      NSD             E4
      NSD             E5
      NSD             E6
      NSD             E7
      NSD             E8
      NSD             E9
      NSD             E10
      NSD             F2
      NSD             F3
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                                                   TEM Bulk Talc Structure Count Sheet
     Project/                                                                                 No. of Grids
                             M69757-004                      Grid Box #            8344                                   2
    Sample No.                                                                                 Counted
     Analyst:            Elyse Stempinski                                         Length         Width                G. O. Area
      Date of
                              12/14/2018                                           105            105                  11025
     Analysis
                                                          G. O. in microns =
       Initial
                               0.04122                                             105            105                  11025
     Weight(g)
     Analysis
                   Post Separation Talc Analysis           Grid Acceptance         Yes         Average                 11025
       Type
                   Accelerating                                                                 G.O.s
    Scope No.                              100 KV             Loading%             20%                                   100
                     Voltage                                                                   Counted
                     Screen
        2                                  20 KX                      Area Examined mm²                                 1.103
                   Magnification

                                                        Asbestos
      Str. #       Grid Opening          Structure        Type         Length     Width          Ratio            SAED             EDS

                    Sample Wt.
   Org. Sample       Post HL
        Wt.         Separation
     0.04122         0.04122        g
   Percent of
   Orig. Post
   Separation           100         (%)

       Wt. Of
      Sample
     Analyzed       0.00022598      g
     Filter size       201.1        mm²
    Number of
    Structures                                                                   Detection
     Counted             0          Str.                                           Limit       4.43E+03      Str./g
    Structures
   per Gram of                                                                  Analytical
      Sample          <4425         Str./g                                      Sensitivity    4.43E+03      Str./g




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